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				ACCESS AND CHARGES FOR SERVICES FURNISHED BY OCIS2014 OK 63Decided: 06/27/2014THE SUPREME COURT OF THE STATE OF OKLAHOMACite as: 2014 OK 63, __ P.3d __
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 
Access and Charges for Services Furnished by the Oklahoma Court Information System
CORRECTED ORDER
Pursuant to this Court's general administrative authority, Okla. Const., Art. 7, §6, and statutory authority to furnish the Oklahoma Court Information System (OCIS) network and services, 20 O.S. 2011, § 1315, we hereby approve and adopt the following schedule of charges effective July 1, 2014:
1. Network service to agencies, boards, commissions or other entities with access to the OCIS network.
Other agencies, boards, commissions or other entities within courthouses, or at other locations where access to the OCIS telecommunications network is available at a specified District Court site, may contract with the AOC for OCIS network service. The fee for OCIS network service shall be on a consumption of bandwidth basis determined by the committed information rates for the Kb levels of service offered specific to each location. The fee for each level of service will be established by location based upon the total cost to the AOC for providing network access at the location, the total bandwidth contracted by AOC for the location, and the committed information rate for the Kb levels of service offered at the location (e.g., 256Kb, 386Kb, 512Kb, . . .). The fee for the level of service shall be determined by the proportion of the level chosen to the total bandwidth at the location when applied to the total cost of network access for the specific location. The rates will vary by location based upon contracted amounts between the AOC and the telecommunications providers. In addition, a $10.00 administrative fee will be assessed per location.
Prior to entering into an OCIS network access agreement, the agency, board, commission, or other entity shall agree to the fee for the network service by executing a memorandum of understanding prepared by the AOC setting out the Kb level of service offered at the specific location and the committed information rates for the levels offered.
All OCIS network up to a local connection shall be maintained by the MIS Division of the AOC.
2. Network service for other agencies, boards, commissions or other entities with no access to the OCIS network.
An agency, board, commission, or other entity not located within a courthouse or at a location where OCIS network access is not available may contract with the AOC for access to the OCIS network if the MIS Division of the AOC determines that it is feasible to provide the service to that governmental entity. The agency, board, commissions or other entities shall be responsible for the connection from its location to the local courthouse. The charge for connection to the OCIS network and for the OCIS network service in the local courthouse shall be calculated under part 1. set out above for the network services to agencies, boards, commissions or other entities with access to the OCIS network.
This Order shall be available at www.OSCN.net. On July 1, 2014, this Order shall supersede order numbered SCAD 99-24 dated May 3, 1999, and filed May 4, 1999, and SCAD-2011-70 dated November 8, 2011 and filed November 9, 2011.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 26TH DAY OF JUNE, 2014.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR.




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